          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          CRIMINAL NO. 1:05CR23


UNITED STATES OF AMERICA                    )
                                            )
                                            )
            VS.                             )            ORDER
                                            )
                                            )
RICHARD ALLEN RIDDLE                        )
                                            )


      THIS MATTER is before the Court on Defendant's “Motion to Correct

Sentence,” filed March 20, 2008.

      In accordance with Castro v. United States, 540 U.S. 375 (2003), and

United States v. Blackstock, 513 F.3d 128 (4th Cir. 2008), Defendant is

advised that the Court intends to construe his motion as a request to

vacate, set aside or correct sentence, pursuant to 28 U.S.C. § 2255.

      Before he agrees to this recharacterization of the motion, Defendant

should consider the fact that, if the Court construes the instant motion as

one under § 2255, the motion will constitute a "first petition" under § 2255.

As a result, if Defendant later wishes to file a second or successive § 2255

petition in this Court, he will first be required to receive certification from




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the United States Court of Appeals for the Fourth Circuit. 28 U.S.C. §

2255(h).

      Additionally, the law imposes a one-year statute of limitations on a

defendant's right to bring a § 2255 motion. Id. § 2255(f). This one-year

period begins to run at the latest of:

      1.    the date on which the judgment of conviction becomes
            final -- in this case, March 13, 2006;

      2.    if the defendant was prevented from making a motion
            under § 2255 by governmental action in violation of the
            Constitution or laws of the United States, the date on
            which the impediment created by such governmental
            action is removed;

      3.    the date on which the right asserted was initially
            recognized by the Supreme Court, if such right has been
            newly recognized by the Supreme Court AND made
            retroactively applicable to cases on collateral review; or

      4.    the date on which the facts supporting the claim or claims
            presented could have been discovered through the
            exercise of due diligence.

Id. § 2255(f)(1)-(4).

      Defendant is hereby afforded the opportunity to withdraw his motion

of March 20, 2008, or to amend it so that it contains all the § 2255 claims

he wishes to assert. Nonetheless, if Defendant fails to respond to this

Order or agrees to have the motion recharacterized as a § 2255 petition,



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the Court will consider the motion pursuant to § 2255 and shall consider it

as of the date the original motion was filed.

      IT IS, THEREFORE, ORDERED that Defendant file a response on or

before 30 days from service of this Order. In the response, Defendant

shall advise the Court whether or not he agrees with the recharacterization

of the motion as described herein. If Defendant does not agree to the

modification, the Court will rule on the merits of the pending motion. If

Defendant agrees to the modification, he may file amendments to the

original motion so as to include any pertinent grounds not alleged in the

original filing. If Defendant wishes to file such amendments, he must do so

within the 30-day period stated above.

      Defendant is advised that if he does not timely respond to this Order,

the Court will proceed with its recharacterization of the motion as described

herein.

                                      Signed: March 28, 2008




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